                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


 UNITED STATES OF AMERICA                          )
                                                   )
                                                   )           Case No. 1:07-CR-79-1
 v.                                                )
                                                   )           Chief Judge Curtis L. Collier
                                                   )
 JEREMY EASTMAN                                    )


                                             ORDER

        On November 29, 2007, United States Magistrate Judge William B. Carter conducted a

 change of plea hearing in this case for James Jamar Eastman, a.k.a. Jeremy Eastman (“Defendant”)

 and filed a Report and Recommendation (“R&R”). The R&R recommends: (1) the Court accept

 Defendant’s guilty plea as to Count One of the Indictment, charging a conspiracy to distribute five

 grams or more of a mixture or substance containing cocaine base (“crack”), in violation of 21 U.S.C.

 §§ 846, 841(a)(1) and (b)(1)(B)(iii); (2) the Court adjudicate Defendant guilty of the charge to which

 he has pleaded; (3) the Court accept Defendant’s plea agreement at the time of sentencing; and (4)

 Defendant be taken into custody pending sentencing in this matter (Court File No. 109).

        Neither party has filed objections to the R&R within the given ten (10) days. Therefore, after

 reviewing the record, the Court ACCEPTS and ADOPTS the R&R (Court File No. 109) pursuant

 to 28 U.S.C. § 636(b)(1), and ORDERS as follows:

        (1) Defendant’s guilty plea to Count One of the Indictment is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charge to which he has pleaded;

        (3) A decision to accept the plea agreement is DEFERRED until sentencing; and

        (4) Defendant IS TAKEN INTO CUSTODY until sentencing. Sentencing is set for




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 Thursday, February 21, 2007, at 9:00 a.m.



       SO ORDERED.

       ENTER:


                                             /s/
                                             CURTIS L. COLLIER
                                             CHIEF UNITED STATES DISTRICT JUDGE




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